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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 ROBOTICVISIONTECH, INC.,

                          Plaintiff,

                v.                                    C.A. No: 22-cv-01257-GBW

 ABB INC.,

                          Defendant.


                              [PROPOSED] SCHEDULING ORDER

       This ____ day of ______ 2023, the Court, having conducted an initial Rule 16(b)

scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

or binding arbitration;

       IT IS HEREBY ORDERED that:

       1.      Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless

otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

Federal Rule of Civil Procedure 26(a)(1) within 5 days of the date the Court enters this Order. If

they have not already done so, the parties are to review the Court’s Default Standard for

Discovery, Including Discovery of Electronically Stored Information (‘‘ESI”), which is posted at

http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

incorporated herein by reference.

       2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, within 45 days of ABB filing its answer to

the Complaint (D.I. 1). Unless otherwise ordered by the Court, any motion to join a party or



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motion to amend the pleadings shall be made pursuant to the procedures set forth in Paragraphs

4(g) and 5.

       3.      Disclosures. On agreement among the parties, and approval of the Court:

               (a)     Plaintiff has identified the accused products, including accused methods

and systems, and its damages model, as well as the asserted patents that the accused products

allegedly infringe(s). Plaintiff has also produced the file history for each asserted patent. Plaintiff

has also identified its alleged trade secrets with particularity. Within five days of this order,

Plaintiff shall serve amended Rule 26(a) disclosure and paragraph 3(a) disclosures and

Defendant shall serve Rule 26(a) disclosures and paragraph 3(a) disclosures.

               (b)     By August 30, 2023, Defendant shall produce core technical documents

related to the accused products, sufficient to show how the accused products work, including but

not limited to non-publicly available operation manuals, product literature, schematics,

specifications, and source code. Defendant shall also produce sales figures for the accused

products, including units sold, price per unit, and aftermarket sales service and support for

domestic sales and global sales.

               (c)     By November 8, 2023, Plaintiff shall produce an initial claim chart

relating each known accused product to the asserted claims each such product allegedly

infringes.

               (d)     By December 15, 2023, Defendant shall produce its initial invalidity

contentions for each asserted claim, as well as the known related invalidating references.

               (e)     By June 5, 2024, Plaintiff shall provide final infringement contentions.

               (f)     By June 19, 2024, Defendant shall provide final invalidity contentions.




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 4.    Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

 limitations on discovery set forth in the Federal Rules of Civil Procedure shall be strictly

 observed.

               (a)     Fact Discovery Cut Off. All fact discovery in this case shall be initiated so

that it will be completed on or before July 5, 2024.

               (b)     Document Production. Document production shall be substantially

complete by May 17, 2024.

               (c)     Requests for Admission. A maximum of 50 requests for admission are

permitted for each side, excluding requests establishing authenticity of documents.

               (d)     Interrogatories.

                       i.      A maximum of 30 interrogatories, including contention

interrogatories, are permitted for each side.

                       ii.     The Court encourages the parties to serve and respond to

contention interrogatories early in the case. In the absence of agreement among the parties,

contention interrogatories, if filed, shall first be addressed by the party with the burden of proof.

The adequacy of all interrogatory answers shall be judged by the level of detail each party

provides (i.e., the more detail a party provides, the more detail a party shall receive).

               (e)     Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited

to a total of 70 hours of taking testimony by deposition upon oral examination for fact witnesses.

Any deposition (other than third-party depositions) that lasts for less than four hours shall count

as four hours for the purposes of this paragraph.

                       ii.     Location of Depositions. Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

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required, upon request, to submit to a deposition at a place designated within this district.

Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

action in this Court for the purpose of this provision.

               (f)     Disclosure of Expert Testimony.

                       i.      Expert Reports. For the party who has the initial burden of proof

on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

testimony is due on or before August 2, 2024. The supplemental disclosure to contradict or rebut

evidence on the same matter identified by another party is due on or before August 30, 2024.

Reply expert reports from the party with the initial burden of proof are due on or before

September 20, 2024. No other expert reports will be permitted without either the consent of all

parties or leave of the Court. Along with the submissions of the expert reports, the parties shall

advise of the dates and times of their experts’ availability for deposition.

                       ii.     Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in

connection with briefing of case dispositive motions.

                       iii.    Expert Discovery Cut-Off. All expert discovery in this case shall

be initiated so that it will be completed on or before October 23, 2024.

               (g)     Discovery Matters and Disputes Relating to Protective Orders.

                       i.      Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.

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                       ii.     Should counsel find, after good faith efforts - including verbal

communications among Delaware and Lead Counsel for all parties to the dispute - that they are

unable to resolve a discovery matter or a dispute relating to a protective order, the parties

involved in the discovery matter or protective order dispute shall submit a joint letter in

substantially the following form:

       Dear Judge Williams:

               The parties in the above-referenced matter write to request the scheduling
       of a discovery teleconference.

               The following attorneys, including at least one Delaware Counsel and at
       least one Lead Counsel per party, participated in a verbal meet- and-confer (in
       person and/or by telephone) on the following date(s): ____________________

               Delaware Counsel: ___________

               Lead Counsel: ___________

               The disputes requiring judicial attention are listed below:

       [provide here a non-argumentative list of disputes requiring judicial attention]

                       iii.    On a date to be set by separate order, generally not less than 48

hours prior to the conference, the party seeking relief shall file with the Court a letter, not to

exceed 3 pages, outlining the issues in dispute and its position on those issues. On a date to be set

by separate order, but generally not less than 24 hours prior to the conference, any party

opposing the application for relief may file a letter, not to exceed 3 pages, outlining that

party’s reasons for its opposition.

                       iv.     Each party shall submit 2 courtesy copies of its discovery letter

and any attachments.

                       v.      Should the Court find further briefing necessary upon conclusion

of the telephone conference, the Court will order it. Alternatively, the Court may choose to




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resolve the dispute prior to the telephone conference and will, in that event, cancel the

conference.

       5.      Motions to Amend.

               (a)     Any motion to amend (including a motion for leave to amend) a pleading

shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not

to exceed 3 pages, describing the basis for the requested relief, and shall attach the proposed

amended pleading as well as a “blackline” comparison to the prior pleading.

               (b)     Within 7 days after the filing of a motion in compliance with this Order,

any party opposing such a motion shall file a responsive letter, not to exceed 5 pages.

               (c)     Within 3 days thereafter, the moving party may file a reply letter, not to

exceed 2 pages, and, by this same date, the parties shall file a letter requesting a teleconference to

address the motion to amend.

       6.      Motions to Strike.

               (a)     Any motion to strike any pleading or other document shall NOT be

accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed 3

pages, describing the basis for the requested relief, and shall attach the document to be stricken.

               (b)     Within 7 days after the filing of a motion in compliance with this Order,

any party opposing such a motion shall file a responsive letter, not to exceed 5 pages.

               (c)     Within 3 days thereafter, the moving party may file a reply letter, not to

exceed 2 pages, and, by this same date, the parties shall file a letter requesting a teleconference to

address the motion to strike.

       7.      Technology Tutorials. Unless otherwise ordered by the Court, the parties jointly

shall provide the Court, no later than the date on which the Joint Claim Construction Chart is

due, a tutorial on the technology at issue. In that regard, the parties shall jointly submit to the

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Court an electronic tutorial of not more than 30 minutes. The tutorial should focus on the

technology in issue and educate the Court about the same and should not be used for argument.

As to the format selected, the parties should confirm the Court’s technical abilities to access the

information contained in the tutorial. The parties may choose to file their tutorial under seal,

subject to any protective order in effect.

       8.      Claim Construction Issue Identification. On or before December 22, 2024, the

parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction

and their proposed claim construction of those term(s)/phrase(s). On or before January 5, 2024,

the parties shall respond to and provide their proposed construction for any term(s)/phrase(s)

presented by the other side for which the party did not initially provide a construction. These

documents will not be filed with the Court. Subsequent to exchanging that list, the parties will

meet and confer to prepare a Joint Claim Construction Chart to be filed no later than January

12, 2024. The Joint Claim Construction Chart, in Word format, shall be e-mailed simultaneously

with filing to gbw_civil@ded.uscourts.gov. The parties’ Joint Claim Construction Chart should

identify for the Court the term(s)/phrase(s) of the claim(s) in issue, and should include each

party’s proposed construction of the disputed claim language with citation(s) only to the intrinsic

evidence in support of their respective proposed constructions. A copy of the patent(s) in issue as

well as those portions of the intrinsic record relied upon shall be submitted with this Joint Claim

Construction Chart. In this joint submission, the parties shall not provide argument.

       9.      Claim Construction Briefing. Plaintiff shall serve, but not file, its opening brief,

not to exceed 5,000 words, on February 2, 2024. Defendant shall serve, but not file, its

answering brief not to exceed 7,500 words, on February 23, 2024. Plaintiff shall serve, but not

file, its reply brief, not to exceed 5,000 words, on March 8, 2024. Defendant shall serve, but not

file its sur-reply brief, not to exceed 2,500 words, on March 22, 2024. No later than March 29,

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2024, the parties shall file a Joint Claim Construction Brief. The parties shall copy and paste

their untiled briefs into one brief, with their positions on each claim term in sequential order, in

substantially the form below.

               JOINT CLAIM CONSTRUCTION BRIEF

       I.      Agreed-Upon Constructions

       II.     Disputed Constructions

               [TERM 1]
                     1.         Plaintiff’s Opening Position
                     2.         Defendant’s Answering Position
                     3.         Plaintiff’s Reply Position
                     4.         Defendant’s Sur-Reply Position
               [TERM 2]
                     1.         Plaintiff’s Opening Position
                     2.         Defendant’s Answering Position
                     3.         Plaintiff’s Reply Position
                     4.         Defendant’s Sur-Reply Position
If there are any materials that would be submitted in an index, the parties shall submit them in a

Joint Appendix.

       10.     Hearing on Claim Construction. Beginning at 9 a.m. on April ____, 2024, the

Court will hear argument on claim construction. The parties shall notify the Court, by joint letter

submission, no later than the date on which their answering claim construction briefs are due: (i)

whether they request leave to present testimony at the hearing; and (ii) the amount of time they

are requesting be allocated to them for the hearing.

         Provided that the parties comply with all portions of this Scheduling Order, and any

 other orders of the Court, the parties should anticipate that the Court will issue its claim

 construction order within 60 days of the conclusion of the claim construction hearing. If the



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 Court is unable to meet this goal, it will advise the parties no later than 60 days after the

 conclusion of the claim construction hearing.

       11.     Interim Status Report. On June 21, 2024, counsel shall submit a joint letter to the

Court with an interim report of the matters in issue and the progress of discovery to date.

Thereafter, if the Court deems it necessary, it will schedule a status conference.

       12.     Case Dispositive Motions.

               (a)     All case dispositive motions, an opening brief, and affidavits, if any, in

support of the motion shall be served and filed on or before November 20, 2024, [a date

approximately four months prior to the pretrial conference, the four months being calculated

from the conclusion of the briefing]. Briefing will be presented pursuant to the Court’s Local

Rules. No case dispositive motion under Rule 56 may be filed more than 10 days before the

above date without leave of the Court.

                 (b)   Concise Statement of Facts Requirement. Any motion for summary

 judgment shall be accompanied by a separate concise statement, not to exceed 6 pages, which

 details each material fact which the moving party contends is essential for the Court’s

 resolution of the summary judgment motion (not the entire case) and as to which the moving

 party contends there is no genuine issue to be tried. Each fact shall be set forth in a separate

 numbered paragraph and shall be supported by specific citation(s) to the record.

       Any party opposing the motion shall include with its opposing papers a response to the

moving party’s concise statement, not to exceed 6 pages, which admits or disputes the facts set

forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the extent a

fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the record.

Failure to respond to a fact presented in the moving party’s concise statement of facts shall

indicate that fact is not in dispute for purposes of summary judgment. The party opposing the

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motion may also include with its opposing papers a separate concise statement, not to exceed 4

pages, which sets forth material facts as to which the opposing party contends there is a genuine

issue to be tried. Each fact asserted by the opposing party shall also be set forth in a separate

numbered paragraph and shall be supported by specific citation(s) to the record.

          The moving party shall include with its reply papers a response to the opposing party’s

concise statement of facts, not to exceed 4 pages, on a paragraph-by-paragraph basis. Failure to

respond to a fact presented in the opposing party’s concise statement of facts shall indicate that

fact remains in dispute for purposes of summary judgment.

                 (c)     Page limits combined with Daubert motion page limits. Each party is

permitted to file as many case dispositive motions as desired provided, however, that each SIDE

will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40

pages for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of

the number of case dispositive motions that are filed. In the event that a party files, in addition to

a case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an

expert’s testimony, the total amount of pages permitted for all case dispositive and Daubert

motions shall be increased to 50 pages for all opening briefs, 50 pages for all answering briefs,

and 25 pages for all reply briefs for each SIDE.1

                  (d)     Ranking of Summary Judgment Motions. Any party that files more than

    one summary judgment motion shall number each motion to indicate the order in which the

    party wishes the Court to review its pending motions. The first motion the party wishes the


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  The parties must work together to ensure that the Court receives no more than a total of 250
pages (i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other
side’s motions) of briefing on all case dispositive motions and Daubert motions that are covered
by this scheduling order and any other scheduling order entered in any related case that is
proceeding on a consolidated or coordinated pretrial schedule.

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 Court to consider shall be designated #1, the second motion shall be designated #2, and so on.

 The Court will review the party’s summary judgment motions in the order designated by the

 party. If the Court decides to deny a motion filed by the party, barring exceptional reasons

 determined sua sponte by the Court, the Court will not review any lower ranked summary

 judgment motions filed by the party.

       13.     Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

       14.     Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement

on a proposed form of order and submit it to the Court within 10 days from the date the Court

enters this Order. Should counsel be unable to reach an agreement on a proposed form of order,

counsel must follow the provisions of Paragraph 4(g) above.

       Any proposed protective order must include the following paragraph:

       Other Proceedings. By entering this order and limiting the disclosure of
       information in this case, the Court does not intend to preclude another court from
       finding that information may be relevant and subject to disclosure in another case.
       Any person or party subject to this order who becomes subject to a motion to
       disclose another party’s information designated “confidential” [the parties should
       list any other level of designation, such as “highly confidential,” which may be
       provided for in the protective order] pursuant to this order shall promptly notify
       that party of the motion so that the party may have an opportunity to appear and
       be heard on whether that information should be disclosed.

        15.    Papers Filed Under Seal. In accordance with section G of the Revised

 Administrative Procedures Governing Filing and Service by Electronic Means, a redacted

 version of any sealed document shall be filed electronically within 7 days of the filing of the

 sealed document.

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        16.     Courtesy Copies. The parties shall provide to the Court 2 courtesy copies of

filings (i.e., briefs, appendices, exhibits, declarations, affidavits etc.). Courtesy copies of

appendices and exhibits should include hard tabs. This provision also applies to papers filed

under seal.

        17.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall

be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of 3 pages of argument, may be opposed by a maximum of 3 pages of

argument, and the side making the in limine request may add a maximum of 1 additional page in

reply in support of its request. If more than one party is supporting or opposing an in limine

request, such support or opposition shall be combined in a single 3 page submission (and, if the

moving party, a single 1 page reply), unless otherwise ordered by the Court. No separate briefing

shall be submitted on in limine requests, unless otherwise permitted by the Court.

        18.     Pretrial Conference. On April 10, 2025, the Court will hold a pretrial conference

in Court with counsel beginning at 9 a.m. Unless otherwise ordered by the Court, the parties

should assume that filing the pretrial order satisfies the pretrial disclosure requirement of Federal

Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint proposed final

pretrial order in compliance with Local Rule 16.3(c) and the Court’s Preferences and Procedures

for Civil Cases not later than 7 days before the pretrial conference. Unless otherwise ordered by

the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d)(l)-(3) for

the preparation of the joint proposed final pretrial order.




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         The parties shall provide the Court 2 courtesy copies of the joint proposed final pretrial

order and all attachments. The proposed final pretrial order shall contain a table of contents and

the paragraphs shall be numbered.

         19.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

tried to a jury, pursuant to Local Rules 47.l(a)(2) and 51.1 the parties should file (i) proposed

voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict

forms 7 business days before the final pretrial conference. This submission shall be accompanied

by a courtesy copy containing electronic files of these documents, in Microsoft Word format,

which may be submitted by e-mail to gbw_civil@ded.uscourts.gov.

         20.    Trial. This matter is scheduled for a 5 day jury trial beginning at 9:30 a.m. on

April 21, 2025, with the subsequent trial days beginning at 9:30 a.m. Until the case is submitted

to the jury for deliberations, the jury will be excused each day at 5:30 p.m. The trial will be

timed, as counsel will be allocated a total number of hours in which to present their respective

cases.

         21.    Judgment on Verdict and Post-Trial Status Report. Within 7 days after a jury

returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order to

enter judgment on the verdict. At the same time, the parties shall submit a joint status report,

indicating among other things how the case should proceed and listing any post-trial motions

each party intends to file.

         22.    Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited

to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply

briefs relating to any post-trial motions filed by that side, no matter how many such motions are

filed.




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       23.     ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.


                                                 The Honorable Gregory B. Williams
                                                 United States District Judge




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Counsel Shall Provide a Chart of All Relevant Deadlines

                           EVENT                                           DEADLINE
 Plaintiff shall identify the accused products, damages        Completed
 model, asserted patents, and produce the file history
 for each asserted patent. Plaintiff shall also identify its
 alleged trade secrets with particularity.

 Plaintiff shall serve amended Rule 26(a) disclosures &        Within 5 days from the entry of this
 paragraph 3(a) disclosures, and Defendant shall serve         Scheduling Order
 Rule 26(a) disclosures & paragraph 3(a) disclosures.

 Defendant produces core technical documents,                  August 30, 2023
 including operation manuals, product literature,
 schematics, specifications, and source code.
 Defendant shall also produce sales figures for the
 accused products.

 Plaintiff shall produce an initial infringement               November 8, 2023
 contention claim chart.

 Defendant shall produce its initial invalidity                December 15, 2023
 contentions for each asserted claim, as well as the
 known related invalidating references

 Parties shall exchange a list of terms and their              December 22, 2023
 proposed claim constructions.

 Parties respond to claim constructions presented by           January 5, 2024
 the other side for which the party did not initially
 provide a construction.

 Meet and confer to prepare a Joint Claim Construction         January 12, 2024
 Chart

 Plaintiff shall serve opening claim construction brief        February 2, 2024

 Defendant shall serve answering claim construction            February 23, 2024
 brief

 Plaintiff shall serve reply claim construction brief.         March 8, 2024

 Defendant shall serve sur-reply claim construction            March 22, 2024
 brief

 Parties shall file Joint Claim Construction Brief.            March 29, 2024




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                      EVENT                                           DEADLINE
 Hearing on Claim Construction                         April 2024

 Deadline for joinder and amending pleadings           45 days after Defendants answer
                                                       complaint

 Document production shall be substantially complete   May 17, 2024

 Final infringement contentions                        June 5, 2024

 Final invalidity contentions                          June 19, 2024

 Interim Status Report                                 June 21, 2024

 Close of fact discovery                               July 5, 2024

 Opening Expert Reports.                               August 2, 2024

 Rebuttal Expert Reports                               August 30, 2024

 Reply expert reports                                  September 20, 2024

 Close of Expert Discovery                             October 23, 2024

 Opening case dispositive motions                      November 20, 2024

 Pretrial Conference                                   April 10, 2025

 Trial begins                                          April 21, 2025




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